     Case 3:16-cv-03044-L-KSC Document 57 Filed 05/21/18 PageID.1311 Page 1 of 1


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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE ILLUMINA, INC. SECURITIES                 Case No.: 3:16-cv-03044-L-KSC
12   LITIGATION                                      ORDER GRANTING JOINT
13                                                   MOTION TO AMEND
                                                     SCHEDULING ORDER
14
15                                                   [Doc. No. 56]
16
17         Presently before the Court is the parties’ Joint Motion to Amend the Scheduling
18   Order [Doc. No. 55]. The parties request that the class discovery cut-off date be stricken
19   from the Scheduling Order consistent with the parties’ understanding at the Case
20   Management Conference. [Doc. No. 56 at p. 2].
21         Good cause appearing, the parties’ Joint Motion is GRANTED.
22         IT IS HEREBY ORDERED that the Class Discovery cut-off date of September 4,
23   2018 is VACATED. [Doc. No. 55, p. 2, ¶ 3].
24         IT IS SO ORDERED.
25   Dated: May 21, 2018
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